Case 1:25-cv-00916-JDB   Document 19-26   Filed 04/08/25   Page 1 of 5




        EXHIBIT 23
4/4/25, 5:24 PM       Case 1:25-cv-00916-JDB      Document
                                           Major law               19-26 dealFiled
                                                     firm strikes preemptive        04/08/25
                                                                              with White            Page 2 of 5
                                                                                         House - POLITICO


                                                                                                                                                              




   Major law firm strikes preemptive deal with White House

   Skadden Arps, one of the largest law firms in the world, reached an agreement with Trump despite not being targeted by the White House like other firms.




                                      President Donald Trump announced that his administration has reached a deal with an elite law firm during

                                      a swearing-in ceremony in the Oval Office at the White House on March 28, 2025, in Washington, D.C. |

                                      Andrew Harnik/Getty Images




                                      By   DANIEL   BARNES

                                      03/28/2025    02:47   PM   EDT

                                      Updated:   03/28/2025      04:33   PM   EDT




                                      The White House has reached a deal with one of the largest law firms in the
                                      world to provide the equivalent of $100 million in free legal work to causes
                                      supported by the administration, President Donald Trump announced Friday
                                      afternoon.

                                      The law firm, Skadden, Arps, Slate, Meagher & Flom LLP, will also fund
                                      fellowships for law school graduates to work on causes in line with the
                                      administration’s priorities. The fellows “will represent a wide range of political
                                      views, including conservative ideals,” the president said in a statement.

https://www.politico.com/news/2025/03/28/skadden-arps-trump-law-deal-028324                                                                                       1/4
4/4/25, 5:24 PM     Case 1:25-cv-00916-JDB      Document
                                         Major law               19-26 dealFiled
                                                   firm strikes preemptive        04/08/25
                                                                            with White            Page 3 of 5
                                                                                       House - POLITICO
                                                                    Advertisement




                                Skadden will also commit to “merit based hiring, promotion and retention,”
                                and will not deny representation to “politically disenfranchised groups,” the
                                president said during a swearing in event for Alina Habba, one of his personal
                                attorneys and his pick to be the acting U.S. Attorney for New Jersey.



                                “This was essentially a settlement,” Trump said of the deal.

                                The president has signed a number of executive orders in recent weeks
                                targeting individual law firms for their prior associations with his political
                                enemies. No such order had been signed targeting Skadden, however, the fifth-
                                highest grossing law firm in the world according to Law.com, making this the
                                first time a law firm has preemptively gone to the White House to negotiate
                                with the administration.

                                Skadden’s executive partner Jeremy London shared details of the negotiation
                                in a firm-wide email sent Friday and obtained by POLITICO.

                                “Over the past few days, we learned that the Trump Administration intended to
                                issue an executive order directed at Skadden,” London wrote. “We believed it
                                would focus on DEI initiatives and our pro bono activities.”

                                “With that in mind, we chose to engage proactively and constructively with the
                                Administration to align on a productive path forward without the issuance of
                                an executive order,” he wrote. “We entered into the agreement the President
                                announced today because, when faced with the alternatives, it became clear
                                that it was the best path to protect our clients, our people and our Firm.”

                                “Not everyone will agree with the decision we made today, and I have great
                                respect for the different views that make us stronger as a Firm,” he wrote. “But
                                I firmly believe that an agreement centered around our pro bono work and
                                complying with the law was an acceptable outcome to ensure Skadden will
                                continue to thrive long into the future. This agreement does not change who we
                                are.”

                                The deal echoes an earlier agreement between the administration and the law
                                firm Paul, Weiss, which agreed to donate $40 million in pro bono work
                                towards causes supported by the administration. Paul, Weiss similarly
                                committed to reviewing their hiring practices and ending use of diversity,
                                equity and inclusion policies.

                                                                    Advertisement




https://www.politico.com/news/2025/03/28/skadden-arps-trump-law-deal-028324                                        2/4
4/4/25, 5:24 PM        Case 1:25-cv-00916-JDB      Document
                                            Major law               19-26 dealFiled
                                                      firm strikes preemptive        04/08/25
                                                                               with White            Page 4 of 5
                                                                                          House - POLITICO




                                                                                               AD




                                       That settlement was reached after the president signed an executive order
                                       punishing Paul, Weiss for the work of a former partner by revoking security
                                       clearances for certain attorneys and restricting the firm’s ability to represent
                                       clients that interface with the government.

                                       “We appreciate Skadden’s coming to the table,” Trump said Friday. “As you
                                       know other law firms have likewise settled the case. It’s a shame, you know,
                                       what’s gone on is a shame but we very much appreciate their coming to the
                                       table.”

                                       Though Skadden had not yet been targeted by an executive order, it recently
                                       drew negative attention from Elon Musk, who posted about the firm on X.

                                       “Skadden, this needs to stop now,” Musk posted in response to a post from
                                       2020 election denier Dinesh D’Souza who said the firm was engaged in
                                       “systematic lawfare” against his film 2000 Mules.

                                       Earlier Friday, major law firms Jenner & Block and WilmerHale filed two
                                       lawsuits challenging Trump’s executive orders cutting those firms off from
                                       government contracts, suspending security clearances held by lawyers at the
                                       firm and restricting firm employees from entering government buildings.

                                       A federal judge previously ruled that a similar executive order targeting the
                                       firm Perkins Coie is likely unconstitutional.


   FILED   UNDER:   WHITE   HOUSE,   DONALD   T R U M P,   L AW,   LEGAL




                                          West Wing Playbook: Remaking Government
                                          Your guide to Donald Trump’s unprecedented overhaul of the federal government.



                                          EMAIL




                                              Your Email



                                          EMPLOYER                                           JOB   TITLE




                                              Employer                                        Job Title




https://www.politico.com/news/2025/03/28/skadden-arps-trump-law-deal-028324                                                3/4
4/4/25, 5:24 PM      Case 1:25-cv-00916-JDB      Document
                                          Major law               19-26 dealFiled
                                                    firm strikes preemptive        04/08/25
                                                                             with White            Page 5 of 5
                                                                                        House - POLITICO
                                      By signing up, you acknowledge and agree to our Privacy Policy and Terms of Service. You may unsubscribe at any time

                                      by following the directions at the bottom of the email or by contacting us here. This site is protected by reCAPTCHA and
                                                                                                                                                                 SIGN   UP
                                      the Google Privacy Policy and Terms of Service apply.




   SPONSORED CONTENT




   Donald Trump has                Why the Ultra-Wealthy                              Walmart Shoppers Say                                   Taylor Swift's Private          If A Person Often
   begun a mafia-like…             Are Quietly Ditching…                              This $99 Hearing Aid…                                  Island Cost Her…                Touches Their Mouth…
   But the new rules do not suit   Finance Advisors                                   Oricle Hearing                                         Entertainment                   Entertainment

   America
                                                                                                                                             Fact Fun Fiesta                 Fact Fun Fiesta
   The Economist




                                                                                                         About Us



                                                                                                       Advertising



                                                                                               Breaking News Alerts



                                                                                                          Careers


                                                                                               Credit Card Payments



                                                                                                     Digital Edition



                                                                                                            FAQ



                                                                                                        Feedback



                                                                                                        Headlines


                                                                                                          Photos



                                                                                                           Press



                                                                                                 Print Subscriptions



                                                                                                Request A Correction



                                                                                                      Write For Us


                                                                                                            RSS



                                                                                                         Site Map




                                                                                                   Terms of Service



                                                                                                     Privacy Policy




                                                                                               © 2025 POLITICO LLC




https://www.politico.com/news/2025/03/28/skadden-arps-trump-law-deal-028324                                                                                                                         4/4
